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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA

                     v.                                    Case No.: 9:22-mj-08332-BER

  SEALED SEARCH WARRANT
                                                     /

   MEDIA INTERVENORS’ MOTION FOR THE GOVERNMENT TO PERIODICALLY
   REASSESS AND REPORT ON UNSEALING THE SEARCH WARRANT AFFIDAVIT

         Last week, this Court granted in part the renewed motion of the Media Intervenors1 to

  further unseal the affidavit of probable cause submitted in connection with the search warrant

  executed on August 8, 2022 at Mar-a-Lago (the “Affidavit”). Order on Mot. to Unseal (ECF No.

  154). Specifically, the Court concluded that “additional portions of the search warrant affidavit

  should now be unsealed” following the release of the indictment in United States v. Trump, No.

  23-cr-80101-AMC, and that the Government had carried its heavy burden to justify continuing to

  redact other portions of the Affidavit by showing that those withholdings “are narrowly tailored



     1
        “The Media Intervenors” refers to Intervenors American Broadcasting Companies, Inc.; the
  Associated Press; Cable News Network, Inc.; CBS Broadcasting Inc. o/b/o CBS News.; Dow
  Jones & Company, Inc., publisher of The Wall Street Journal; the E.W. Scripps Company; The
  Palm Beach Post, and USA TODAY, publications operated by subsidiaries of Gannett Co., Inc.;
  NBCUniversal Media, LLC d/b/a NBC News; The New York Times Company; Times
  Publishing Company, publisher of the Tampa Bay Times; and WP Company LLC d/b/a The
  Washington Post, and Proposed Intervenors Advance Publications, Inc.; Bloomberg L.P.; CMG
  Media Corporation; Fort Myers Broadcasting Company; Gray Media Group, Inc.; Guardian
  News & Media Limited; Insider Inc.; Los Angeles Times Communications LLC, publisher of
  The Los Angeles Times; the McClatchy Company, LLC d/b/a the Miami Herald; National Cable
  Satellite Corporation d/b/a C-SPAN; Orlando Sentinel Media Group, publisher of the Orlando
  Sentinel; POLITICO LLC; Radio Television Digital News Association; Reuters News & Media
  Inc.; Sun-Sentinel Company, LLC, publisher of the South Florida Sun Sentinel; TEGNA Inc.;
  Telemundo Network Group LLC d/b/a Noticias Telemundo; Tribune Publishing Company; and
  Univision Networks & Studios, Inc.
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  to serve the Government’s legitimate interests and are the least onerous alternative to sealing the

  entire search warrant affidavit.” Id. at 1-2.

         As the criminal case against former President Donald J. Trump moves forward, even

  more information about the Government’s investigation will surely come to light in other

  publicly-filed court records, and the Government no doubt will also disclose additional details

  about the investigation directly to Trump and his co-defendant Waltine Nauta. As a result, even

  fewer of the remaining redactions in the Affidavit will be defensible under the demanding legal

  standard that this Court has noted. See In re Sealed Search Warrant, 622 F. Supp. 3d 1257, 1261

  (S.D. Fla. 2022); see also United States v. Appelbaum (In re United States), 707 F.3d 283, 295

  (4th Cir. 2013) (recognizing that public was “not forever barred from access . . . because at some

  point in the future, the Government’s interest in sealing may no longer outweigh the common

  law presumption of access”); United States v. Steinger, 626 F. Supp. 2d 1231, 1237 (S.D. Fla.

  2009) (recognizing that once circumstances change, “certain documents may be completely

  unsealed, and others might be filed in public record with certain redactions”).

         Because only the Government knows and can compare the information currently redacted

  from the Affidavit with the information it provides to Trump and Nauta and/or the information

  included in other public court filings, the Government is uniquely positioned to inform the Court

  when circumstances have changed such that the Court can and should unseal additional portions

  of the Affidavit. Cf. United States v. Doe, 629 F. App’x 69, 74 (2d Cir. 2015) (affirming denial

  of motion to unseal while “remind[ing] the Government that, should the conditions for unsealing

  set forth in the sealed order come to pass, it is under a continuing obligation to inform the district

  court”). The Media Intervenors therefore request that this Court order the Government to

  reassess its position as to continued sealing of the Affidavit and file a report informing this Court




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  of that position every thirty (30) days until either the Affidavit is unsealed entirely or the

  proceedings in United States v. Trump result in a final judgment, whichever is sooner.

         The Media Intervenors respectfully submit that placing this responsibility on the

  Government will result in greater and prompter public access to the information contained in the

  Affidavit, and thus will advance “the intense public and historical interest in an unprecedented

  search of a former President’s residence,” see Aug. 22, 2022 Order at 13 (ECF No. 80).

  Moreover, because the Media Intervenors will still be willing and able to advocate for unsealing

  as circumstances warrant (and indeed reserve the right to do so), the Court will continue to

  benefit from the adversarial process as well in considering whether and what to further unseal.

                                            CONCLUSION

         For the foregoing reasons, the Media Intervenors respectfully request that the Court

  (1) direct the Government to file a status report in this matter every thirty days until either the

  entire Affidavit is unsealed or a final judgment is reached in United States v. Trump, whichever

  is sooner, informing the Court as to the Government’s position on whether any additional

  portions of the Affidavit can be unsealed; (2) direct the Government to file a public redacted

  version of its report simultaneously with any such report it files under seal; (3) conduct an

  independent review of the Government’s position as to any continuing redactions; and (4) where

  appropriate, promptly place a less-redacted version of the Affidavit on the public docket.

                      CERTIFICATION OF GOOD-FAITH CONFERENCE

         Pursuant to Local Rule 88.9(a), undersigned counsel certify that on July 12, 2023, they

  made reasonable efforts to confer via email with counsel for the Government and counsel for

  Trump. Counsel for Trump did not respond, and counsel for the Government stated that the

  Government opposes this motion.




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   Dated: July 14, 2023                                Respectfully submitted,

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